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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
District of Columbia
J.G.G.. etal. )
Plaintiff )
V. ) Case No.  1:25-cv-00766-JEB
Trump, et al. )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

J.G.G., G.F.F., J.G.O., W.G.H., and J.A.V.

Date: 03/19/2025 /s/ Sarah M. Rich

Attorney’s signature

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